Case 18-10614-ja| Doc 5 Filed 06/25/18 Entered 06/25/18 16:50:48 Page 1 of 7

Fi|l in this information to identify your case:

 

 

 

Debtori Brian Lee Simmons

First Name Midci|e Name l_asi Name
Debtor 2 Missy Lee Mathews-Simmons
(Spouse if, ii|ihg) First Name Midd|e Name Last Name

United States Bankruptcy Courtforthe: WESTERN D|STR|CT OF KENTUCKY

 

Case number
(iiknown) |:| Check if this is an

amended filing

 

 

B 104
For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not insiders 12/15

if you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. if you are filing under Chapter 7, Chapter12,or
Chapter13, do not fill out this form. Do not include claims by anyone who is an insider. insiders include your reiatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in controll or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. A|sol do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured ciaims.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information.

List the 20 Unsecured Ciaims in Order from Largest to Sma||est. Do Not include C|aims by lnsiders.

Unsecured claim

 

- What is the nature of the claim? $ $447,352_00
3rd & Centrai Properties, LLC
3204 Ten Broeck Way As of the date you fi|e, the claim is: Check ali that apply
L.ouisville, Kv 40241 13 C°"f'“ge'“
|:| Unliquidated
|:| Disputed
l None oithe above apply

 

Does the creditor have a lien on your property?

 

 

 

 

- No

comm l:l Yes. Tota| claim (secured and unsecured) $
Va|ue of security: - $
Coniacl phone UnSeCufed C|aim $
- What is the nature of the claim? $ $1,244.00

American Express
P_O_ Box 297879 As of the date you fiie, the claim is: Check ali that apply
Forr Lauderdale, FL 33329 El C°"i'“ge"i

ij Un|iquidated

|:| Disputed

l None ofthe above apply

 

Does the creditor have a lien on your property?

 

 

- No
contact |:| Yes. Tota| claim (secured and unsecured) $
Va|ue of security: - $
3104 (Oiiii:ial Forrn 104) Fnr individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 1

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CaS€ 18-10614-]&| DOC 5

Brian Lee Simmons
Missy Lee Mathews-Simmons

Debtor 1
Debtor 2

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Case number (."i‘ known)

 

 

Contai:i phone

Unsecured claim $

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

What is the nature of the claim? $ $11,895.00
Chase
p_O_ Box 7013 As of the date you fi|e, the claim is: Check all that apply
indianapolis iN 46207 L'-l CO"f'"Qe"i
|:| Un|iquidated
[| Disputed
- None of the above apply
Does the creditor have a lien on your property?
l No
Cootaci |:] Yes. Total ciaim (secured and unsecured} $
Va|ue of security: - 3
Contact phone Ui'iSeCUFGC| C-|Bi|'i'i $
What is the nature of the claim? $ $751,00
Chase Card Services
p0 Box 15293 As of the date you fi|e, the claim is: Check ali that apply
wilmington, DE 19350 E| CO"“"QE“*
|:| Un|iquidated
- Disputed
|:| None ofthe above apply
Does the creditor have a lien on your property?
- No
Contact l:l Yes. Totai claim (secured and unsecured} $
Va|ue Of Security: - $
contact phone Unsecured claim $
- What is the nature of the claim? Credit Card $ $5,536.00
Chase Card Services
Correspondence Dept As of the date you fiie, the claim is: Chec|< ali that apply
Po Box 15298 |:l Contingent
wilmington, DE 19350 E| Un"qu'dafed
|:| Disputed
l None of the above apply
Does the creditor have a lien on your property?
- No
contact |:] Yes. Tota| claim (secured and unsecured) $
Va|ue of security: - $
Contact phone Unsecured claim $
What is the nature of the claim? Personal Guaranty of $ $56,222_00

Edmonton State Bank

 

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For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciaims

Hi||view Eateries, lnc.

As of the date you fi|e, the claim is: Check ali that apply

- Coritingent
|:| Un|iquidated
l:| Disputed

Page 2

Best Case Bankri.iptcy

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Debtor‘f Brian Lee Simmons
Debei' 2 Missy Lee MatheWS-Simmons CaSe number (I'fknOWri)
|:| Norie ofthe above apply
Does the creditor have a lien on your property?
- No
contact |:] Yes_ Total claim (secured and unsecured) $
Va|ue of security: - $
contact phone Unsecured claim $
7 What is the nature of the claim? Persona| Guaranty $ $48,438.00

Ciarksvi|ie Eateries

 

Edmonton State Bank
As of the date you fiie, the claim is: Check ali that apply

- Contingent

|:| Uniiquidated
|:| Disputed
[____| None of the above apply

 

Does the creditor have a lien on your property?

 

 

 

- No
Contaot |:[ Yes. Total claim (secured and unsecured) $
Va|ue of security: - $
contact phone Unsecured claim $
What is the nature of the claim? Personai Guaranty 5 $1,647,702.00

Simpson Co.
Commercia| Reaity

 

Edmonton State Bank
As of the date you file, the claim is: Check ali that apply

l Coritingent

[:| Un|iquidated
['_`| Disputed
|:| None ofthe above apply

 

Does the creditor have a lien on your property?

 

 

 

 

- NO i
contact |:l Yes. Tota| claim (secured and unsecured) $
Va|ue of security: - $
contact phone Unseciired claim $
What is the nature of the claim? Persona| Guaranty for $ $1,210,222_00

Simmons Properties

 

Edmonton State Bank
As of the date you fi|e, the claim is: Check all that apply

- Coiitingent

|:| Un|iquidated

|:| Dispuled

|:| None ofthe above apply

 

Does the creditor have a iien on your property?

 

 

l No
Contaot |:] Yes. Tota| ciaim (secured and unsecured) $
Va|ue of security: - $
B 104 (Oi'ficial Fcrm 104) For individual Chapter 11 Cases: List of Creditors Who I-iave the 20 Largest Linsecured Clairns Page 3

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Case 18-10614-ja|

Brian Lee Simmons
Missy Lee Mathews-Simmons

Debtor 1
Debtor 2

Coniact phone

Case number (i'f known)

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Unsecured claim $

 

10
- Edmonton State Bank

P.O. Box 57
Edmonton, KY 42129

 

 

Contacl

 

Contaci phone

Hankcock Bank & Trust
Company

2501 Crossings Bivd.
Bowiing Green, KY 42104

 

 

Contacl

 

Coniaci phone

What is the nature of the claim?

$ $68,613.25

 

As of the date you fi|e, the claim is: Check ai| that apply
|:l Contirigent

|:[ Unliquidated
|:| Disputed
. None ofthe above apply

Does the creditor have a lien on your property?

- No
|:| Yes. Total claim (secured and unsecured)

$
Va|ue of security: - $
Unsecured claim $

What is the nature of the claim? Personal Guaranty

Etown Properties 2,
LLC

As of the date you fi|e, the claim is: Check all that apply
- Contingent

|:| Un|iquidated
|:| Disputed
|___| None of the above apply

Does the creditor have a lien on your property?
- No

|:| Yes. Tota| claim {secured and unsecured)

Va|ue of security: -
Unsecured claim

$%ED

$ $788,135.00

 

 

 

 

 

 

What is the nature of the claim? $ $2,015.00
SYNCBlLowes
P.O_ Box 9650{]5 As of the date you fiie, the claim is: Check ali that apply
oriando, FL 32396 13 C°"t'"ge"f
[| Unliquidated
|:| Disputed
l None ofthe above apply
Does the creditor have a lien on your property?
l No
contact 1:[ Yes. Tota| claim (secured and unsecured) $
Va|ue of security: - $
contact phone Unsecured claim $
What is the nature of the claim? $ $2,539_00

n SYNCBlSam's C|ub

PO Box 965005
Orlando, FL 32896

 

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As of the date you fi|e, the claim is: Check ali that apply
Contingent

El
|:| Un|iquidated
|:| Disputed

For individual Chapter 11 Cases: List of Creditors Who i-lave the 20 Largest Unsecured Claims

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Debtor1 Brian Lee Simmons
Debtor 2 Missy Lee Mathews.$immons Case number (i'fknown,l
- None ofthe above apply
Does the creditor have a lien on your property?
- No
contact |:| Yes. Tota| claim {secured and unsecured) $
Va|ue of security: - $
Cohtactphona Unsecured claim $
n What is the nature of the claim? Credit Card $ $1,783.00
Synchrony Bankl'Sams C|ub
Attn; Bankruptcy Dept As of the date you fi|e, the claim is: Check ali that apply
Po cox 965060 iii C°"i"ngem
Orlando, FL 32896 l:| Un|iquidated
|:| Disputed
. None ofthe above apply
Does the creditor have a lien on your property?
- No
contact l:l Yes. Tota| claim (secured and unsecured) $
Va|ue of security; - $
contact phone Unsecured claim $
What is the nature of the claim? Refridgerator for $ $558.00
Overtime BG
TimePayment Corp.
1500 District Ave_ As of the date you fi|e, the claim is: Cbeck all that apply
Buriington, iviA 01803 E| CO“i'"Qe“l
|':| Un|iquidated
|:| Disputed
l None of the above apply
Does the creditor have a lien on your property?
- No
contact [:| Yes. Tota| claim (secured and unsecured) $
Value of security: - $
contact phone Unsecured claim $
m What is the nature of the claim? $ $3,941_00
US Bank
p_O_ Box 5227 As of the date you fi|e, the claim is: Chec|< a|| that apply
cincinnati, oH 45201 E| C°"t'“@e“l
|:| Un|iquidated
|:| Disputed
l None of the above apply
Does the creditor have a lien on your property?
- No
contact |:| Yes. Tota| claim (secured and unsecured) $
Value of security: - $
contact phone Unsecured claim $
B104(Of‘0c:ia| Form 1041 For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 5

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Debtori Brian Lee Simmons
Debtor 2 Missy Lee Mathew$.Sim|-nons Case number (i'fkriown)
What is the nature of the claim? $ $20,883.00
US Bank
p_O_ Box 5227 As of the date you fi|e, the claim is: Checl< all that apply
cincinnaii, oil 45201 5 Co"f'"g@“l
|:| Un|iquidated
|:| Disputed
- None ofthe above apply
Does the creditor have a lien on your property?
- No
contact |:i Yes. Tota| claim {secured and unsecured) $
Value of security: - $
contact phone Unsecured claim $
m What is the nature of the claim? $ $11,027_00
US Bank
p_O_ Box 5227 As of the date you fi|e, the claim is: Check all that apply
cincinnati, ol-l 45201 5 C°"t'"ge“t
[:| Un|iquidated
|:l Disputed
- None oithe above apply
Does the creditor have a lien on your property?
l No
contact |:| Yes. Total claim (secured and unsecured) $
Va|ue of security: - $
Contacl phone Unsecured claim $ _mi
What is the nature of the claim? Credit Card $ $10,766.00
US Bank/RMS CC
Attn; Bankruptcy As of the date you fi|e, the claim is: Check all that apply
Po Box 5229 5 C""“"Qe"t
Cincinnati, OH 45201 ij Un|iquidated
|:| Disputed
- None of the above apply
Does the creditor have a lien on your property?
- Nc
contact |:| Yes. Tota| claim (secured and unsecured) $
Va|ue of security: - $
Coniact phone Unsecured claim $
What is the nature of the claim? Credit Card $ $506.00

m US Bank)'RMS CC

Attn: Bankruptcy
Po Box 5229
Cincinnatil OH 45201

 

 

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As of the date you fi|e, the claim is: Check ali that apply
|'_'[ Contingent

|:| Un|iquidated
|:| Disputed
l None of the above apply

Does the creditor have a lien on your property?
- No

For individual Chapter 11 Cases: List of Creditors Who Have the 20 i_argest Unsecured Claims

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Debtor1 Brian Lee Simmons

Dethr 2 Missy Lee MatheWS-Simmgns CaSe number (il‘ kriOWr'l)

 

 

Contact |:[ Yes. Tota| claim (secured and unsecured}

$
Value of security.' - $
$

 

Contact phone Ul'iSeCLll”Sd Claim

mach Beiow

Under pe aity'd'i pmm e information provided in this form is true and c rrect.
X rian Lee immons X ISM§E dewde W

Brian Lee Simmons Missy Le§_gathews-Simmons
Signature of Debtor 1 Signature ebtor 2

 

5319 June 25, 2018 53¥€ June 25, 2018

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